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       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION
 JOHN AMBLER AND STACY AMBLER,

                Plaintiffs,                       CV 23-151-M-DLC-KLD

       vs.                                   MOTION FOR SUMMARY JUDGMENT

 FLATHEAD CONSERVATION DISTRICT,

                Defendant.

      COMES NOW, Plaintiff Flathead Conservation District (“FCD”), through their

attorney Camisha Booth Sawtelle of Sawtelle Law Firm, PLLC, and moves this

honorable court for summary judgment pursuant to Fed. R. of Civ. P. 56 on the issue

of whether the Montana Natural Streambed and Land Preservation Act, found at

Title 75, Chapter 7, part 1, Mont. Code Ann. applies to a private inholding in the

boundary of Glacier National Park.

      Summary judgment is appropriate where there are no genuine issues of
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material fact and the moving party is entitled to judgment as a matter of law. Based

on evidence contained in the record and for the reasons and authority set forth in

the accompanying brief and statement of undisputed facts, FCD requests this Court

grant this motion for summary judgment and issue the relief requested.

      Respectfully submitted this 3rd day of June, 2024.

                                      SAWTELLE LAW FIRM PLLC

                                      By:         /s/    Camisha Booth Sawtelle
                                             Attorney for Defendant




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